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   1 Michael L. Rodenbaugh (California Bar No. 179059)
   2 Jonathan Frost (California Bar No. 273189)
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   4 San Francisco, California 94104
     Phone: (415) 738-8087
   5 Email: mike@rodenbaugh.com
   6
     Attorneys for Defendant
   7 sued as George Dikian
   8                         UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
  10                                             CASE NO. 2:22-cv-04453-AB-MAR
         VPN.COM LLC,
  11                         Plaintiff,
  12                                             DECLARATION OF MIKE
               vs.                               RODENBAUGH, ESQ. IN SUPPORT
  13                                             OF DEFENDANT’S MOTION TO
                                                 PROCEED UNDER PSEUDONYM
         GEORGE DIKIAN et al.
  14
  15                        Defendants.
  16
  17         I, Mike Rodenbaugh, am lead counsel in this matter on behalf of Defendant
  18 sued as George Dikian. I swear under penalty of perjury that the following
  19 statements are true and correct to the best of my knowledge:
  20         1. Attached as Exhibit A is a true and correct copy of ICANN’s SSAC
  21             Report: Domain Name Hijacking, dated July 12, 2005.
  22         2. Attached as Exhibit B are true and correct copies of law firm web pages
  23             describing their domain name theft recovery services.
  24         3. Attached as Exhibit C is a true and correct copy of Plaintiff’s article
  25             published in December 2022 entitled Domain Name Hijacking, Reverse
  26             Hijacking, and What To Do If Your Domain Name Is Stolen.
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  28 Declaration of Mike Rodenbaugh, Esq. ISO
       Defendant’s Motion to Proceed Under Pseudonym
       Case No. 2:22-cv-04453-AB-MAR
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   1         4. Attached as Exhibit D is a true and correct copy of a news article from
   2             Ars Technica entitled “Failed plot to steal domain name at gunpoint
   3             brings 14 year prison term.”
   4         5. Attached as Exhibit E is a true and correct copies of the expert report of
   5             Rod Rasmussen disclosed to Plaintiff on July 3, 2023.
   6         6. Attached as Exhibit F is a true and correct copies of the expert report of
   7             Mark Seiden (redacted) disclosed to Plaintiff on July 3, 2023.
   8         7. On December 15, 2022, Plaintiff’s counsel forwarded a third-party
   9             subpoena seeking information about RPI, using RPI’s real name.
  10         8. On January 31, 2023, Plaintiff named RPI in Plaintiff’s Initial Disclosure.
  11         9. At least as early as February 27, 2023, Plaintiff received a copy of RPI’s
  12             former Nevada driver’s license in response to a subpoena to
  13             Escrow.com,.
  14         10. On March 3, 2023, Plaintiff’s counsel sent a letter to me stating “we will
  15             be seeking leave to amend our complaint to … name [RPI] as a party.”
  16         11. On May 8, 2023, Defendant signed RPI’s name upon the sworn
  17             Verification of RPI’s timely responses to Plaintiff’s interrogatories,
  18             wherein RPI’s real identity was stated in response to Interrogatory #1.
  19         12. On July 14, 2023, Defendant RPI produced a copy of RPI’s current
  20             Florida driver’s license to Plaintiff’s counsel, in response to Plaintiff’s
  21             requests for production.
  22         13. Plaintiff has sent at least seven third-party subpoenas seeking
  23             confidential information about RPI, including to Microsoft, Yahoo!,
  24             RPI’s domain name registrar (Tucows), and RPI’s domain escrow service
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  28 Declaration of Mike Rodenbaugh, Esq. ISO
       Defendant’s Motion to Proceed Under Pseudonym
       Case No. 2:22-cv-04453-AB-MAR
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   1             (Escrow.com). All companies responded to Plaintiff’s subpoenas without
   2             objection.1
   3         14. Attached as Exhibit G is a true and correct copy of the opinion in
   4             Alexander v. Falk, No. 2:16-cv-02268-MMD-GWF (D. Nev. Aug. 30,
   5             2017).
   6         15. Attached as Exhibit H is a true and correct copy of the opinion in Doe v.
   7             Mozer, No. 2:16-cv-00210-KJD-VCF, at *2 (D. Nev. June 24, 2016).
   8         16. Attached as Exhibit I is a true and correct copy of the opinion in
   9             Discopolus, LLC v. City of Reno, No. 3:17-CV-0574-MMD (VPC) (D.
  10             Nev. Nov. 16, 2017).
  11
       RESPECTFULLY SUBMITTED,
  12
  13 DATED: JULY 21, 2023
                                             RODENBAUGH LAW
  14
  15
  16                                         By:
                                                    Mike Rodenbaugh (SBN 179059)
  17
                                                    Attorneys for Defendant
  18                                                sued as George Dikian
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        Except as to one subpoena subject to Defendant’s pending Motion to Quash.
       C.D. Cal. Case No. 2:23-mc-00087-SPG-KS (subpoena to Bodis LLC).
  28 Declaration of Mike Rodenbaugh, Esq. ISO
       Defendant’s Motion to Proceed Under Pseudonym
       Case No. 2:22-cv-04453-AB-MAR
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  28 Declaration of Mike Rodenbaugh, Esq. ISO
       Defendant’s Motion to Proceed Under Pseudonym
       Case No. 2:22-cv-04453-AB-MAR
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